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aty         Richard Allen Keuler, Jr.         rkeuler@reedsmith.com
aty         Richard F. Rescho          rrescho2001@yahoo.com
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db          W.R. GRACE &CO.           7500 Grace Drive         Columbia, MD 21044
aty         Curtis A. Hehn       Pachulski Stang Ziehl &Jones LLP        919 N. Market Street         17th
            Floor       Wilmington, DE 19801
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aty         David W. Carickhoff, Jr       Blank Rome LLP          Chase Manhattan Centre        1201 Market Street, Suite
            800        Wilmington, DE 19801
aty         David W. Carickhoff, Jr       Blank Rome LLP          Chase Manhattan Centre        1201 Market Street, Suite
            800        Wilmington, DE 19801
aty         David W. Carickhoff, Jr       Pachulski Ziehl Stang Ziehl Young Jones       919 N. Market St.        16th
            Floor       Wilmington, DE 19899
aty         James E. O'Neill      Pachulski Stang Ziehl &Jones LLP         919 North Market Street, 17th Floor        PO Box
            8705        Wilmington, DE 19899−8705
aty         James E. O'Neill      Pachulski Stang Ziehl &Jones LLP         919 North Market Street, 17th Floor        P.O. Box
            8705        Wilmington, DE 19899−8705
aty         Kathleen P. Makowski        Pachulski Stang Ziehl &Jones LLP         919 North Market Street, 17th Floor        P.O.
            Box 8705        Wilmington, DE 19899
aty         Kathleen P. Makowski        Pachulski Stang Ziehl &Jones LLP         919 North Market Street, 17th Floor        P.O.
            Box 8705        Wilmington, DE 19899
aty         Laura Davis Jones       Pachulski Stang Ziehl &Jones LLP         919 North Market Street        17th
            Floor       Wilmington, DE 19899−8705
aty         Laura Davis Jones       Pachulski Stang Ziehl &Jones LLP         919 N. Market Street        17th
            Floor       Wilmington, DE 19899−8705
aty         Mark M. Billion       Pachulski Stang Ziehl &Jones LLP        919 N. Market Street         17th
            Floor       Wilmington, DE 19702
aty         Michael R. Lastowski       Duane Morris LLP          1100 North Market Street        Suite 1200        Wilmington,
            DE 19801−1246
aty         Paula Ann Galbraith       211 East Ohio # 2618        Chicago, IL 60611
aty         Robert J. Dehney        Morris, Nichols, Arsht &Tunnell      1105 N. Market Street         P. O. Box
            1347        Wilmington, DE 19899−1347
aty         Timothy P. Cairns       Pachulski Stang Ziehl &Jones LLP         919 N. Market St., Suite 1700       Wilmington,
            DE 19899
aty         Timothy P. Cairns       Pachulski Stang Ziehl Young Jones        919 N. Market Street        17th
            Floor       Wilmington, DE 19801
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